     Case:20-00015-ESL Doc#:11 Filed:06/01/20 Entered:06/01/20 12:45:50                   Desc: Main
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 1                           IN THE UNITED STATES BANKRUPTCY COURT FOR
                                     THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                           CASE NO. 18-07534-ESL13
 4   JUAN EMILIO ROMAN GARCIA                         Chapter 13

 5
                       Debtor(s)                      ADVERSARY NUMBER: 20-00015-ESL
 6

 7   JUAN EMILIO ROMAN GARCIA
                     Plaintiff(s)
 8

 9
     THE LAW OFFICES OF RICHARD B.                       FILED & ENTERED ON JUN/01/2020
10   ROSENBLATT, PC
                     Defendant(s)
11

12
                                                 ORDER
13
              Upon   the   notice   for   voluntary   dismissal    of   the   complaint   filed   by
14
     Plaintiff Juan Emilio Roman Garcia (Docket #10), the hearing scheduled for
15
     June 12, 2020 at 9:30 A.M. is vacated and set aside.
16
              IT IS SO ORDERED.
17
              In San Juan, Puerto Rico, this 1 day of June, 2020.
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